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                                 Email:       kellygorton@dwt.com
                             8

                             9   Attorneys for Defendant
                                 RAMESH BALWANI
                            10
DAVIS WRIGHT TREMAINE LLP




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                                                                    IN THE UNITED STATES DISTRICT COURT
                            13
                                                                     NORTHEN DISTRICT OF CALIFORNIA
                            14
                                                                                 SAN JOSE DIVISION
                            15

                            16   UNITED STATES OF AMERICA,                               CR-18-00258-EJD
                            17                                      Plaintiff,           NOTICE OF ATTORNEY
                                                                                         CHANGE OF ADDRESS FOR
                            18            vs.                                            JEFFREY B. COOPERSMITH,
                                                                                         MARK BARTLETT, BENJAMIN J.
                            19   ELIZABETH HOLMES AND                                    BYER, MAX HENSLEY AND
                                 RAMESH “SUNNY” BALWANI,                                 AMANDA M. MCCDOWELL
                            20
                                                                    Defendants.
                            21
                                 R
                            22
                                 TO:      THE HONORABLE COURT; and
                            23
                                 TO:      ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
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                                                                     NOTICE OF ATTORNEY CHANGE OF ADDRESS
                                                                              Case No. CR18-00258-EJD
                                 4821-8569-4592v.1 0103509-000002
                                    Case 5:18-cr-00258-EJD Document 61 Filed 11/27/18 Page 2 of 2


                             1          PLEASE TAKE NOTICE THAT effective November 26, 2018, the address for Jeffrey B.
                             2   Coopersmith, Mark Bartlett, Benjamin J. Byer, Max Hensley, Amanda McDowell and the Seattle
                             3   Office location of Davis Wright Tremaine LLP, attorneys of record for Defendant Ramesh
                             4   Balwani, has changed. Please take note of the following change of address and change your
                             5   records accordingly:
                             6                               NEW ADDRESS:
                             7                               Jeffrey B. Coopersmith (CSB#252819)
                                                             Mark Bartlett (admitted pro hac vice)
                             8                               Benjamin J. Byer (admitted pro hac vice)
                                                             Max Hensley (admitted pro hac vice)
                             9
                                                             Amanda M. McDowell (admitted pro hac vice)
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DAVIS WRIGHT TREMAINE LLP




                            11                               Seattle, WA 98104-1610
                                                             Telephone: (206) 622-3150
                            12                               Facsimile: (206) 757-7700
                            13

                            14   Email addresses, telephone, and facsimile numbers remain the same.

                            15   DATED this 27th day of November, 2018.

                            16                                                   Respectfully submitted,

                            17                                                   DAVIS WRIGHT TREMAINE LLP
                            18

                            19                                                   By: /s/ Jeffrey B. Coopersmith
                                                                                     Jeffrey B. Coopersmith, (CSB#252819)
                            20
                                                                                 Attorneys for Ramesh Balwani
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                                                          NOTICE OF ATTORNEY CHANGE OF ADDRESS
                                                                   Case No. CR18-00258-EJD
